Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 1 of 13




             EXHIBIT “A”
  r   Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 2 of 13
                                                                                        ~ r.-.,.•~.. :l
                   IN THE SUPERI'OR COURT OF'PEACH COUNTY
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                                                                            ``'..../   ,.--_~~

                              STATE OF GEORGIA

MARKCO WHIPPLE,                             :       CIVIL ACTION NO

      Plaintiff,

vs.

ALBERTO CRUZ, PENKSE TRUCKING                          CEARCIA PFACH COUNTY
                                                :      Clerk's Of?lce, Superlor ot~t
LEASING CORPORATION, And                               f"iled io OF~ice
TRUSTSTAR TRANSPORT, INC,                                                                  20 ~
                                                       :iay of

      Defendants.                               :          'V


                          COMPLAINT FOR DAMAGES


      COMES NOW, Plaintiff Markco Whipple, and files his Complaint for

Damages respectfully shocvs the Court as follows:

                      Statement of Venue and Jurisdiction

                                      1.

       Defendant Alberto Cruz (hereinafter "Cruz") is a resident of Jefferson

County, Kentucky and may be served at 8410 Hurstbourne Woods Place,

Louisville, Kentucky 40299.

                                           2.

       Defendant Penkse Truck Leasing Corporation (hereinafter "Penkse", at

 all pertinent times was, and is, a foreign profit corporation, with its

 principal place of business located at RT 10 Green Hills, Post Box 563,

 Reading, PA 19603. Said Defendant is subject to the jurisdiction of this

 Court by virtue of the facts sho-vvn hereinbelow, and can be served with this

 Complaint to Corporation Service Company, the Registered Agent for

 Defendant Penkse Truck Leasing Corporation at 40 Technology Parkway

 South Suite 300, Norcross, Georgia 30092.
         Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 3 of 13
                                            ~ 3.

          Defendant TrustStar, Transport, Inc. (hereinafter "TrustStar"Leasing"),

    at all pertinent times was, and is, a for profit corporation, with its principal

    place of business located at 8410 Hurstbourne Woods Place, Louisville, h'Y

    40299. Said Defendant is subject to the jurisdiction of this Court by virtue

    of the facts shown hereinbelow, and can be served with this Complaint to

    Alberto Cruz, the Registered Agent for Defendant TrustStar Transport, Inc.

    at 8410 Hurstbourne Woods Place, Louisville, Kentucky 40299.

                                            0
          This is an action for damages based upon the joint and several
h




    negligence of Defendant Cruz, Defendant Penkse, and Defendant TrustStar

    for certain torts committed by Defendants against Plaintiff arising from a

    motor vehicle collision which occurred in Peach County, Georgia.

                                            5.

          Venue is proper in Peach County Superior Court in accordance i;vith

'   GA. CONST., Art. 6, § 2, ¶ 6, cvhich states that "All other civil cases,... shall
~
~   be tried in the county where the defendant resides..." and ¶4, which states

    that "Suits against joint obligors, joint tort-feasors, joint promisors,

    copartners, or joint trespassers residing in different counties, may be

    subject to an action as such in the same action in any county in cvhich one

    or more of the defendants reside."

           Statement of Facts Including Specifications of Ne_gli_gence
                              Applicable Thereto

                                            Q

          Plaintiff repeats, realleges, and reavers each and every allegation

    contained in paragraphs one (1) through five (5) by reference as if fully and

    completely set forth herein verbatim.
        Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 4 of 13
y                                   7,

          The incident complained of herein is a collision between Plaintiff's

    vehicle and a vehicle owned by Defendant Penkse being driven by Defendant

    Cruz which occurrcd on or about October 13, 2016 on GA 401 in Byron,

    Peach County, Georgia.



          On October 13, 2016, Defendant Cruz was operating a commercial

    motor vehicle as defined in 49 CFR sec 390.5. The vehicle Defendant Cruz

    was operating was used on a highway in interstate commerce to transport

    property.

                                            a

~          Defendant Cruz was driving a 2014 IHC Truck belonging to

    Defendant Penkse in the right lane on Georgia 401 behind Plaintiff when he

    rear ended the tractor trailer that the Plaintiff cvas driving at the time of the

    accident.

                Specifications of Negligence And Claim Against
                            Defendant Alberto Cruz
                                            10.

          Plaintiff repeats, realleges, and reavers each and every allegation

    contained in paragraphs one (1) through nine (9) by reference as if fully and

    completely set forth herein verbatim.

                                            11.

          Plaintiff shows that among the acts of negligence committed by

    Defendant Cruz, which acts directly caused the subject collision, and which

    are imputable to TrustStar are as follows:

           a.    In failing to keep a vigilant lookout at the time and place

    complained of, the same being negligence as a matter of law;
    Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 5 of 13
        b.    In failing to maintain a proper distance from the vehicle in front

of the vehicle driven by him, in violation of O.C.G.A. § 40-6-49(a), the same

being negligence as a matter of law;

        C.    In failing to have one's vehicle under immediate control, the

same being negligence as a matter of lacv;

        d.    In failing to make reasonable and proper observation cvhile

driving or reasonable and proper observations were made failing to act on

them.

        e)    In failing to maintain a safe speed in violation of O.C.G.A. §40-

6-180, the same being negligence as a matter of law;

        fJ    In failing to comply with F.M.C.S.A. Regulations, the same being

negligence as a matter of law; and

        g)    In follocving too closely, the same being negligence as a matter of

lacv; and

        h)    Defendant was othernvise negligent.



             Specifications of Negligence And Claim Against
                        Penske Trucking Leading

                                       12.

        Plaintiff repeats, realleges, and reavers each and every allegation

contained in paragraphs one (1) through eleven (11) by reference as if fully

and completely set forth herein verbatim.

                                       13.

        The collision and the injuries and damages to Plaintiff were

proximately caused by, the acts of negligence of Defendant Cruz are

imputable to Defendant Penkse Trucking Leasing Corporation pursuant to

O.C.G.A. §51-2-2; because Defendant Penkse Trucking Leasing Corporation
        Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 6 of 13
    allowed and leased the rental truck to Defendant Cruz and was negligent in

    the following particulars:

          a)      In allowing Defendant Cruz to lease and drive the rental truck of

    Defendant Penkse Truck Leasing Corporation; and

          b)      In negligently entrusting the operation of the vehicle involved in

    the subject collision to Defendant Cruz.

          c) Defendant Penske was negligent in other particulars.



          Defendant Penkse is therefore liable jointly and severally to Plaintiff

    for the damages which he sustained as a result of the negligence of said

~   Defendants.

!              Speciftcations of Negligence And Claim Against
                                  TrustStar

                                           14.

          Plaintiff repeats, realleges, and reavers each and every allegation

    contained in paragraphs one (1) through thirteen (13) by reference as if fully

    and completely set forth herein verbatim.

                                           15.

          At the time of the incident which is the subject of this complaint,

    Defendant Cruz was acting in his capacity as an employee and agent of

    Defendant TrustStar who is therefore liable for his negligence under the

    doctrine of respondeat superior.

                                            16.

          Plaintiff shows that among the acts of negligence committed by

    Defendant TrustStar Transport, Inc. which acts directly caused the subject

    collision are as follows:

          a)      In negligently hiring and retaining Defendant Cruz;
        Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 7 of 13

          b)      In failing to adequately train Defendant Cruz; and

          c)      Defendants were othernvise negligent.

                                          17.

          The collision and the damages to Plaintiff as hereinafter set out were

    also proximately caused by the acts of negligence of Defendant Cruz in

    which are imputable to TrustStar because Defendant Cruz was the agent,

    servant and employee of TrustStar at the time of the incident complained of,

    and was acting within the course and scope of his employment by TrustStar

    Defendant TrustStar is therefore jointly liable and severally to Plaintiff for

~   the damages which he sustained as a result of said negligence of these
t
    Defendants.

                                           11:

          All Defendants named herein were guilty of the various acts of

    negligence hereinabove respectively alleged against each Defendant, and

    such acts of negligence on the part of each Defendant joined and concurred

    to proximately cause the injuries and damages alleged by the Plaintiff, and

    all named Defendants are jointly and severally liable for such damages.

                                        Dama_ges

                                           19.

          As-a result of the collision in this complaint and the negligence of the

    defendants, the Plaintiff has sustained injuries. The defendant's negligent

    acts proximately caused the Plaintiff's injuries.

                                           20.

          As a result of the injuries described above, Plaintiff has incurred

    significant medical expenses and lost wages.




                                                                                     ~
         Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 8 of 13
                                             21.

            As a further result of said collision, Plaintiff has suffered physical,

    mental and emotional distress and cvill continue to do so in the future.

                           Demand For Judgment

            WHEREFORE, Plaintiff demands judgment against Defendants as

    follows:

            (a)    That he have and recover from Defendants Cruz, Penske

    Trucking Leasing Corporation, and TrustStar Transport, Inc, jointly and

    severally, such sums as actual damages as is proven by the evidence for her

    medical expenses, loss of income, pain and suffering and disability, both

    past, present and future;

            (b)    That Plaintiff recover from Defendants Cruz, Penske Trucking
~

    Leasing Corporation, and TrustStar Transport, Inc actual damages for the

;   torts of negligent hiring, negligent retention, and negligent entrustment

    relating to Defendants Cruz, Penske Trucking Leasing Corporation, and

    TrustStar Transport, Inc such sums as are warranted by the evidence in the

    case;

            ( fl   That summons issue and that Defendants be required to answer

    this complaint, and that they be served according to law; and

            (g)    For a trial by jury as to all issues triable by a jury

            Respectfully submitted,       day of May, 2 ^l7.
                           ~
                                                    i1

                                                ZA~SEDGHI
                       `                     Attorney for Plaintiff
                                             State Bar No. 634077
    2870 Vineville Ave
    Macon, Georgia 31204
    (478) 741-3770 office
    (478) 741-3771 facsimile
    cLtivcv. sedghilaw -
                       a?,amail. com
   Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 9 of 13
                    SHERIFF'S INSTRUCTIONS:

PLEASE SHERIFF DEPARTMENT OF JEFFERSON COUNTY SERVE
DEFENDANT ALBERTO CRUZ AT THE FOLLOWING ADDRESS:

               ALBERTO CRUZ, Defendant
               8410 Hurst Bourne Woods Place
               Louisville, Kentucky 40299
               502/819-0124

PLEASE SHERIFF DEPARTMENT OF JEFFERSON COUNTY SERVE
DEFENDANT ALBERTO CRUZ, REGISTERED AGENT FOR TRUSTSTAR
TRANSPORT, INC. AT THE FOLLOWING ADDRESS:

               ALBERTO CRUZ, Defendant
               8410 Hurst Bourne Woods Place
               Louisville, Kentucky 40299
               502/819-0124


PLEASE SHERIFF DEPARTMENT OF GWINNETT COUNTY SERVE
DEFENDANT PENKSE TRUCK LEASING, REGISTERED AGENT AT THE
FOLLOWING ADDRESS:

               CORPORATION SERVICE COMPANY, Registered Agent
               for Penkse Trucking Leasing
               40 Technology Parkway, South
               Suite 300
               Norcross, Georgia 30092
                             Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 10 of 13
+        SUMMONS'                                               SC-85-1




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                                                                    STATE. OF GE:ORGIA


                                                                                          CIVIL. ACTION
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                                                                 PLAINTIFF

                                         VS.


    ~                 ALBERTO CRUZ, PENKSE TRUCKING
    C                 LEASING CORPORATION, AND
                                                             , MC.

                                                             DEFENDANT



                                                                                  SUMiNIONS
    `t
    f
         TO THE ABOVE NANIED DEFENDANT:                                   PENKSE TRUCKING LEASING CORPORATION
    Y
          You are hereby summoned and required to file with the Clerk of said court and sern•e upon the Plaintiff s attorney, whose nanie
         and address is:

                                                                          REZA SEDGHI
                                                                          2870 VINEVILLE AVENUE
                                                                          MACON, GA 31204
                                                                          (478) 741-3770
         an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive
         of the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the coniplaint.

         This                 day of                                 20


                                                                                        Clerk of Superiort$M Court




                                                                                                                                            Deputy Clerk


           I.VSTRUCTIpVS: Attach addendum sheet for additionat parties if needed, niake notation on this sheet if addendum shect is used.
                                              Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 11 of 13


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                                                                                                                                                        MARKCO WHIPPLE
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                                  REZA SEDCrHI
                                  ATTORNEY AT LAW
                                  2870 VIIv'EVILLE AVENUE
                                  MACON, GA 31204                                                                                        _ _ . . _ALBERTO-CRUZ,.-PENKSE.
                                  (478) 741-3770                                                                                                   TRUCKING LEASING
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                                             ~', ~'r~t?~ t'~ (:;:..~~~'~~.                                                                         CORPORATION AND
                                                                                                                               -            -- ----TRUSTSTAR TRANSPORT; - -- -- Dufendsn?
                                                                                                                                                   INC.
                   CORPORATION SERVICE-COMPANY,
~                  Registered Agent for Penkse Trucking Leasing
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z                  Suite 300
                                                           ---- - --- - ..._.____....- ------------------ ------_ -- ------- ------
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                  Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 12 of 13
 SUMMONS                                                SC-85-1            ,




                IN THE SUPERIORI%*X*VE COURT OF                                     _          PFACH                        COUNTY
                                                           STATE OF GEORGIA


                                                                                 CIVIL ACTION
             MARK( lLWHIPPLE                                                     NUMBER




                                                        PLAINTIFF

                                 VS.


             ALBERTO CRUZ, PENKSE TRUCKIN
             LEASING CORPORATION, AND
                                                    ,      •


                                                    DEFENDANT



                                                                           SUMMONS


TO THE ABOVE NAMED DEFENDANT:                                   PENKSE TRUCKING LEASING CORPORATION

 You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff s attorney, whose name
and address is:

                                                                REZA SEDGHI
                                                                2870 VINEVILLE AVENUE
                                                                MACON, GA 31204
                                                                (478) 741-3770
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive
of the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This _~ day of                                           , 20   L-1    .


                                                                               Clerk of SuperiortRo'ta Court



                                                                               BY
                                                                                                                                     Deputy Clerk

  INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.
                     Case 5:17-cv-00258-TES Document 1-1 Filed 07/06/17 Page 13 of 13
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                                                                             Georgia, PEACH                    COUNTY

                                                                                               MARKCO WHIPPLE
 At#orney's Address
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             REZA SEDGHI
             ATTORNEY AT LAW                                                                                      VS.
             2870 VINEVILLE AVENUE
             MACON, GA 31204                                                          -----ALBE.RT_43C-RI1Z ENK3E—_
         (478) 741-3770                                                                      TRUCKING LEAING
 Narne and Address oa Party to be Served                                                     CORPORATION AND
                                                                                            T-RU~TS~AIt~~&NSP@ ,
                                                                                             INC.                                       ©s#endant
             nOnnno e rrTn T-19-                      ANY,
          Registered Agent for Penkse Trucking Leasing
—         40 Tectmolugy-Parkway,-Sauth
          Suite 300
            orcross, Georgia 30092                                                                           Garn ishe,p
                                                Sf•IERIPP'S ENTfiY OP SERViCE
I have this day served tt-ie Garnishee                  _                                      _by leaving a copy of the
within action and summons +riifh
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1 have this day served the defer-pir"4,quction of Documents                _                  _ personally Niith a copy
of the vJitti9n action and summo;ls.

I have tnis day served the defendant                                                                                                      by ieaving
a copy o# the action and sumrr3ons at his most notorious place of abode in thi: County.

Delivnred same into hands of                                                                                                  described as follo+r/s

age, about              years; Lveight, ar ou#           pounds; heitfht, about__-feet and                     inches, domiciled at the residence of
defendant.

Served ttie defendant                                                                                                                 a corporation
by leaving a copy ofi the within action and summons with__ _
in c3large of tiie ofiice and place of doing business of said Corporation in this County.

1 tiave this day served the above styled affidavit and s+.ammons on the defendant(s) by posting a copy of the same to ttie door
of the prernises dAsignated in said afiidavit, and on the same day of such posting by deposi+ing a true copy of same in the
Vlilted Jtatej iNiail, Cir i Class iri ail eiivvio+,Je propeiiy adiJrGJJGd to th ,~
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with adequate postage aftixed knereon containing notice to the defendant(s) to answer said summons at the place stated in
the summons.

Diligent search rnadQ and dafendant_
riot to be found in the jurisdiction of this Court.

This                                     day ot                         20


                                                                                                                DEPUTY

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WHi7E: i,ier'K        CANARY: Piaintiff Atton:ay     PiNS<: Daiandan±
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